Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 1 of 105




                          EXHIBIT B
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 2 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 3 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 4 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 5 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 6 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 7 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 8 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 9 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 10 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 11 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 12 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 13 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 14 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 15 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 16 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 17 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 18 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 19 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 20 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 21 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 22 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 23 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 24 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 25 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 26 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 27 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 28 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 29 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 30 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 31 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 32 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 33 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 34 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 35 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 36 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 37 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 38 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 39 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 40 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 41 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 42 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 43 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 44 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 45 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 46 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 47 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 48 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 49 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 50 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 51 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 52 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 53 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 54 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 55 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 56 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 57 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 58 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 59 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 60 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 61 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 62 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 63 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 64 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 65 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 66 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 67 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 68 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 69 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 70 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 71 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 72 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 73 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 74 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 75 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 76 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 77 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 78 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 79 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 80 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 81 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 82 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 83 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 84 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 85 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 86 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 87 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 88 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 89 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 90 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 91 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 92 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 93 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 94 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 95 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 96 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 97 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 98 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 99 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 100 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 101 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 102 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 103 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 104 of 105
Case 2:10-md-02179-CJB-DPC Document 12107-2 Filed 01/08/14 Page 105 of 105
